                Case 1:16-cr-00049-JLT-SKO Document 10 Filed 10/19/16 Page 1 of 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                     Page I of   3   Pages



                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of California


                    United States of America                             )
                                  v.                                     )
                                                                         )        Case No.    1 :16-cr-00049-LJO-SKO
                      ASHLEY WILLIAMS                                    )
                              Defendant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                            Place
       Courtroom 7 before Magistrate Judge Sheila K. Oberto

      on                                                            1/17/2017 at 1:00 PM
                                                                        Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
              Case 1:16-cr-00049-JLT-SKO Document 10 Filed 10/19/16 Page 2 of 3

AO 199B (Rev. 09/08" EDCA [Fresno]) Additional Conditions of Release (General)                                 Page@or [I] Pages
WILLIAMS, Ashley
Doc. No. 1:16-cr-00049-LJO/SK0-002

                                             Al>i>ITI;ONAL CONDITIONS OF RELEASE

Upon. finding thatrelease by one Of the above methods will not by itselfreasonably assure the appearance of the de"fendanf
and the.safety of other persons and the community, it is FURTHER ORbEREO that the release ofthe defendant is subJectto
:the conditions marked below:                          ·

0    (6)        The defendant i!! placed in the custody of:

                   Name of person or organization                     Yves Hughes.

           who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to
           assure the appearance of the defendant at all scheduled court proceedings, and (c)to notify the court immediately in
           the event the defendant v' I     any con i 'ons      lease or disappears.



0    (7)
     0               rep      n a regular basis to the following.agency:
                     Pre al Services and comply with their rules and regulations;                                            ,
     0          (b)' report in person to the Pretrial Services Agency in the Eastern DistrictofTexas,' Plano Office, on the ftrst
                     working day following your release from custody;                         -
                (c) reside at a location approved by the PSO, and not move or be.absentfrom this residence for mQre than 24
                     hrs. without prior approval of PSO; travel restricted to the.Eastern District of Texas and to and from the
                     Eastern- District of California for Court related pUrposes only, unless otherwise approved in advance ~Y
                     PSO;
     0          (d) report any contact with law enforcement to your PSO within24-hours;
     ill        (e) not associate or have any contact with Constance Taylor unless in the presence of coun5el or otherwise
                     approved in advance by the PSO;
     0          (f) maintain or actively seek employment, and provide proof thereo.t to the· PSQ, upon request;
     ltl        (g) refrain from possessing a firearm/ammunition, destructive device, ot other d~gerous weapon;
                     additionally; you shall provide written proof of divestment of all firearm.s/ammtinition, currently 1!11d~r
                     your control;                                                                                         .. .
     0          (h) submit to drug or alcohol testing as approved by the PSO. You shall pay all or paq of the costs. the  of
                     testing services based upon your ability to pay, as determined by the PSO; ·
     ~          (i) refr~iri from excessive use of alcohol, or any use of a narcotic drug or other controlled s_ubstimc(l without
                     a prescription by a licensed medical practitioner; and you shall notifY Pretri~l Services immediately of
                     any prescribed medic~tion(s). However, medical marijuana, prescribed or not, may not be used; and;
                0) participate in a program of medical or psychiatric treatment including tre~tment fqr drug or alcohol
                     dependency, as approv_ed by the PSO; you shall pay all or part of the costs of the counseling services
                     based upon your ability to pay, as d~tennined by the PSO•
                                                                            . · ....
                     Case
AO 199C (Rev. 09/08- EDCA    1:16-cr-00049-JLT-SKO
                          [Fresno]) Advice of Penalties       Document 10 Filed 10/19/16PagePage    3 of
                                                                                             _ __:3;___ of 3
                                                                                                           _c:...3_            Pages

                                        ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, ifyou commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than I 0 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you. will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                               Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




                                            Directions to the United States Marshal

( ~) The defendant is ORDERED released after processing.




Date: _!Q}->-----Jiq._,_./1-'-'-k._ _


                                                    __ ____Jeavttk _ _l_·_Th tm iPn._,_/l1MiS~_lG_Jttd¥
                                                                                        ---J
                                                                                                        .. -·
                                                                                    Printed name and Iitle




                   DISTRIBUTION:    COURT     DEFENDANT       PRETRIAL SERVICE      U.S. ATTORNEY            U.S. MARSHAL
